Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 1 of
                                                                     Page
                                                                        64 1PageID
                                                                             of 100 #:
                                 PageID
                                      1301
                                        #: 9309
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 2 of
                                                                     Page
                                                                        64 2PageID
                                                                             of 100 #:
                                 PageID
                                      1302
                                        #: 9310
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 3 of
                                                                     Page
                                                                        64 3PageID
                                                                             of 100 #:
                                 PageID
                                      1303
                                        #: 9311
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 4 of
                                                                     Page
                                                                        64 4PageID
                                                                             of 100 #:
                                 PageID
                                      1304
                                        #: 9312
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 5 of
                                                                     Page
                                                                        64 5PageID
                                                                             of 100 #:
                                 PageID
                                      1305
                                        #: 9313
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 6 of
                                                                     Page
                                                                        64 6PageID
                                                                             of 100 #:
                                 PageID
                                      1306
                                        #: 9314
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 7 of
                                                                     Page
                                                                        64 7PageID
                                                                             of 100 #:
                                 PageID
                                      1307
                                        #: 9315
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 8 of
                                                                     Page
                                                                        64 8PageID
                                                                             of 100 #:
                                 PageID
                                      1308
                                        #: 9316
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 9 of
                                                                     Page
                                                                        64 9PageID
                                                                             of 100 #:
                                 PageID
                                      1309
                                        #: 9317
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 10Page
                                                                      of 6410PageID
                                                                              of 100 #:
                                 PageID
                                      1310
                                         #: 9318
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 11Page
                                                                      of 6411PageID
                                                                              of 100 #:
                                 PageID
                                      1311
                                         #: 9319
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 12Page
                                                                      of 6412PageID
                                                                              of 100 #:
                                 PageID
                                      1312
                                         #: 9320
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 13Page
                                                                      of 6413PageID
                                                                              of 100 #:
                                 PageID
                                      1313
                                         #: 9321
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 14Page
                                                                      of 6414PageID
                                                                              of 100 #:
                                 PageID
                                      1314
                                         #: 9322
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 15Page
                                                                      of 6415PageID
                                                                              of 100 #:
                                 PageID
                                      1315
                                         #: 9323
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 16Page
                                                                      of 6416PageID
                                                                              of 100 #:
                                 PageID
                                      1316
                                         #: 9324
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 17Page
                                                                      of 6417PageID
                                                                              of 100 #:
                                 PageID
                                      1317
                                         #: 9325
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 18Page
                                                                      of 6418PageID
                                                                              of 100 #:
                                 PageID
                                      1318
                                         #: 9326
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 19Page
                                                                      of 6419PageID
                                                                              of 100 #:
                                 PageID
                                      1319
                                         #: 9327
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 20Page
                                                                      of 6420PageID
                                                                              of 100 #:
                                 PageID
                                      1320
                                         #: 9328
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 21Page
                                                                      of 6421PageID
                                                                              of 100 #:
                                 PageID
                                      1321
                                         #: 9329
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 22Page
                                                                      of 6422PageID
                                                                              of 100 #:
                                 PageID
                                      1322
                                         #: 9330
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 23Page
                                                                      of 6423PageID
                                                                              of 100 #:
                                 PageID
                                      1323
                                         #: 9331
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 24Page
                                                                      of 6424PageID
                                                                              of 100 #:
                                 PageID
                                      1324
                                         #: 9332
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 25Page
                                                                      of 6425PageID
                                                                              of 100 #:
                                 PageID
                                      1325
                                         #: 9333
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 26Page
                                                                      of 6426PageID
                                                                              of 100 #:
                                 PageID
                                      1326
                                         #: 9334
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 27Page
                                                                      of 6427PageID
                                                                              of 100 #:
                                 PageID
                                      1327
                                         #: 9335
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 28Page
                                                                      of 6428PageID
                                                                              of 100 #:
                                 PageID
                                      1328
                                         #: 9336
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 29Page
                                                                      of 6429PageID
                                                                              of 100 #:
                                 PageID
                                      1329
                                         #: 9337
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 30Page
                                                                      of 6430PageID
                                                                              of 100 #:
                                 PageID
                                      1330
                                         #: 9338
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 31Page
                                                                      of 6431PageID
                                                                              of 100 #:
                                 PageID
                                      1331
                                         #: 9339
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 32Page
                                                                      of 6432PageID
                                                                              of 100 #:
                                 PageID
                                      1332
                                         #: 9340
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 33Page
                                                                      of 6433PageID
                                                                              of 100 #:
                                 PageID
                                      1333
                                         #: 9341
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 34Page
                                                                      of 6434PageID
                                                                              of 100 #:
                                 PageID
                                      1334
                                         #: 9342
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 35Page
                                                                      of 6435PageID
                                                                              of 100 #:
                                 PageID
                                      1335
                                         #: 9343
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 36Page
                                                                      of 6436PageID
                                                                              of 100 #:
                                 PageID
                                      1336
                                         #: 9344
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 37Page
                                                                      of 6437PageID
                                                                              of 100 #:
                                 PageID
                                      1337
                                         #: 9345
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 38Page
                                                                      of 6438PageID
                                                                              of 100 #:
                                 PageID
                                      1338
                                         #: 9346
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 39Page
                                                                      of 6439PageID
                                                                              of 100 #:
                                 PageID
                                      1339
                                         #: 9347
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 40Page
                                                                      of 6440PageID
                                                                              of 100 #:
                                 PageID
                                      1340
                                         #: 9348
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 41Page
                                                                      of 6441PageID
                                                                              of 100 #:
                                 PageID
                                      1341
                                         #: 9349
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 42Page
                                                                      of 6442PageID
                                                                              of 100 #:
                                 PageID
                                      1342
                                         #: 9350
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 43Page
                                                                      of 6443PageID
                                                                              of 100 #:
                                 PageID
                                      1343
                                         #: 9351
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 44Page
                                                                      of 6444PageID
                                                                              of 100 #:
                                 PageID
                                      1344
                                         #: 9352
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 45Page
                                                                      of 6445PageID
                                                                              of 100 #:
                                 PageID
                                      1345
                                         #: 9353
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 46Page
                                                                      of 6446PageID
                                                                              of 100 #:
                                 PageID
                                      1346
                                         #: 9354
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 47Page
                                                                      of 6447PageID
                                                                              of 100 #:
                                 PageID
                                      1347
                                         #: 9355
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 48Page
                                                                      of 6448PageID
                                                                              of 100 #:
                                 PageID
                                      1348
                                         #: 9356
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 49Page
                                                                      of 6449PageID
                                                                              of 100 #:
                                 PageID
                                      1349
                                         #: 9357
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 50Page
                                                                      of 6450PageID
                                                                              of 100 #:
                                 PageID
                                      1350
                                         #: 9358
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 51Page
                                                                      of 6451PageID
                                                                              of 100 #:
                                 PageID
                                      1351
                                         #: 9359
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 52Page
                                                                      of 6452PageID
                                                                              of 100 #:
                                 PageID
                                      1352
                                         #: 9360
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 53Page
                                                                      of 6453PageID
                                                                              of 100 #:
                                 PageID
                                      1353
                                         #: 9361
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 54Page
                                                                      of 6454PageID
                                                                              of 100 #:
                                 PageID
                                      1354
                                         #: 9362
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 55Page
                                                                      of 6455PageID
                                                                              of 100 #:
                                 PageID
                                      1355
                                         #: 9363
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 56Page
                                                                      of 6456PageID
                                                                              of 100 #:
                                 PageID
                                      1356
                                         #: 9364
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 57Page
                                                                      of 6457PageID
                                                                              of 100 #:
                                 PageID
                                      1357
                                         #: 9365
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 58Page
                                                                      of 6458PageID
                                                                              of 100 #:
                                 PageID
                                      1358
                                         #: 9366
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 59Page
                                                                      of 6459PageID
                                                                              of 100 #:
                                 PageID
                                      1359
                                         #: 9367
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 60Page
                                                                      of 6460PageID
                                                                              of 100 #:
                                 PageID
                                      1360
                                         #: 9368
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 61Page
                                                                      of 6461PageID
                                                                              of 100 #:
                                 PageID
                                      1361
                                         #: 9369
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 62Page
                                                                      of 6462PageID
                                                                              of 100 #:
                                 PageID
                                      1362
                                         #: 9370
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 63Page
                                                                      of 6463PageID
                                                                              of 100 #:
                                 PageID
                                      1363
                                         #: 9371
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-10
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 64Page
                                                                      of 6464PageID
                                                                              of 100 #:
                                 PageID
                                      1364
                                         #: 9372
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 1 Page
                                                                   of 36 65PageID
                                                                            of 100 #:
                                PageID
                                     1366
                                       #: 9373
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 2 Page
                                                                   of 36 66PageID
                                                                            of 100 #:
                                PageID
                                     1367
                                       #: 9374
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 3 Page
                                                                   of 36 67PageID
                                                                            of 100 #:
                                PageID
                                     1368
                                       #: 9375
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 4 Page
                                                                   of 36 68PageID
                                                                            of 100 #:
                                PageID
                                     1369
                                       #: 9376
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 5 Page
                                                                   of 36 69PageID
                                                                            of 100 #:
                                PageID
                                     1370
                                       #: 9377
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 6 Page
                                                                   of 36 70PageID
                                                                            of 100 #:
                                PageID
                                     1371
                                       #: 9378
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 7 Page
                                                                   of 36 71PageID
                                                                            of 100 #:
                                PageID
                                     1372
                                       #: 9379
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 8 Page
                                                                   of 36 72PageID
                                                                            of 100 #:
                                PageID
                                     1373
                                       #: 9380
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 9 Page
                                                                   of 36 73PageID
                                                                            of 100 #:
                                PageID
                                     1374
                                       #: 9381
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 10Page
                                                                      of 3674PageID
                                                                              of 100 #:
                                 PageID
                                      1375
                                         #: 9382
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 11Page
                                                                      of 3675PageID
                                                                              of 100 #:
                                 PageID
                                      1376
                                         #: 9383
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 12Page
                                                                      of 3676PageID
                                                                              of 100 #:
                                 PageID
                                      1377
                                         #: 9384
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 13Page
                                                                      of 3677PageID
                                                                              of 100 #:
                                 PageID
                                      1378
                                         #: 9385
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 14Page
                                                                      of 3678PageID
                                                                              of 100 #:
                                 PageID
                                      1379
                                         #: 9386
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 15Page
                                                                      of 3679PageID
                                                                              of 100 #:
                                 PageID
                                      1380
                                         #: 9387
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 16Page
                                                                      of 3680PageID
                                                                              of 100 #:
                                 PageID
                                      1381
                                         #: 9388
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 17Page
                                                                      of 3681PageID
                                                                              of 100 #:
                                 PageID
                                      1382
                                         #: 9389
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 18Page
                                                                      of 3682PageID
                                                                              of 100 #:
                                 PageID
                                      1383
                                         #: 9390
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 19Page
                                                                      of 3683PageID
                                                                              of 100 #:
                                 PageID
                                      1384
                                         #: 9391
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 20Page
                                                                      of 3684PageID
                                                                              of 100 #:
                                 PageID
                                      1385
                                         #: 9392
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 21Page
                                                                      of 3685PageID
                                                                              of 100 #:
                                 PageID
                                      1386
                                         #: 9393
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 22Page
                                                                      of 3686PageID
                                                                              of 100 #:
                                 PageID
                                      1387
                                         #: 9394
Case
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     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 23Page
                                                                      of 3687PageID
                                                                              of 100 #:
                                 PageID
                                      1388
                                         #: 9395
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 24Page
                                                                      of 3688PageID
                                                                              of 100 #:
                                 PageID
                                      1389
                                         #: 9396
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 25Page
                                                                      of 3689PageID
                                                                              of 100 #:
                                 PageID
                                      1390
                                         #: 9397
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 26Page
                                                                      of 3690PageID
                                                                              of 100 #:
                                 PageID
                                      1391
                                         #: 9398
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 27Page
                                                                      of 3691PageID
                                                                              of 100 #:
                                 PageID
                                      1392
                                         #: 9399
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 28Page
                                                                      of 3692PageID
                                                                              of 100 #:
                                 PageID
                                      1393
                                         #: 9400
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 29Page
                                                                      of 3693PageID
                                                                              of 100 #:
                                 PageID
                                      1394
                                         #: 9401
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 30Page
                                                                      of 3694PageID
                                                                              of 100 #:
                                 PageID
                                      1395
                                         #: 9402
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 31Page
                                                                      of 3695PageID
                                                                              of 100 #:
                                 PageID
                                      1396
                                         #: 9403
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 32Page
                                                                      of 3696PageID
                                                                              of 100 #:
                                 PageID
                                      1397
                                         #: 9404
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 33Page
                                                                      of 3697PageID
                                                                              of 100 #:
                                 PageID
                                      1398
                                         #: 9405
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 34Page
                                                                      of 3698PageID
                                                                              of 100 #:
                                 PageID
                                      1399
                                         #: 9406
Case
  Case
     2:22-cv-00072-KAC-JEM
        2:23-cv-00071-TRM-JEMDocument
                                Document
                                      66-12
                                          391-11
                                             Filed 01/16/24
                                                    Filed 10/16/24
                                                              Page 35Page
                                                                      of 3699PageID
                                                                              of 100 #:
                                 PageID
                                      1400
                                         #: 9407
Case
 Case2:22-cv-00072-KAC-JEM
       2:23-cv-00071-TRM-JEMDocument
                               Document
                                     66-12
                                        391-11
                                            Filed 01/16/24
                                                  Filed 10/16/24
                                                            Page 36Page
                                                                    of 36100PageID
                                                                             of 100 #:
                                 PageID
                                     1401
                                        #: 9408
